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                       No. 23-1174 (L), 23-1221
                               IN THE
    United States Court of Appeals for the District of
                   Columbia Circuit
                   CITY OF PORT ISABEL, ET AL.,
                                               Petitioners,
                               v.
             FEDERAL ENERGY REGULATORY COMMISSION,
                                             Respondent,

     RIO BRAVO PIPELINE COMPANY, LLC; RIO GRANDE LNG, LLC
                                  Intervenors for Respondent.

           On Petition for Review of Orders of the Federal
                  Energy Regulatory Commission
 MOTION FOR A 30-DAY EXTENSION OF TIME TO PETITION
      FOR REHEARING AND REHEARING EN BANC

   Geoffrey Shaw                    Robert M. Loeb
   ORRICK, HERRINGTON &             ORRICK, HERRINGTON &
     SUTCLIFFE LLP                    SUTCLIFFE LLP
   1201 355 S. Grand Avenue         2100 Pennsylvania Ave., NW
   Los Angeles, CA 90071            Washington, DC 20037
                                    (202) 339-8400

                                    Lisa M. Tonery
                                    Andrew D. Silverman
                                    Emily Villano
                                    ORRICK, HERRINGTON &
                                      SUTCLIFFE LLP
                                    51 West 52nd Street
                                    New York, NY 10019
               Counsel for Intervenor Rio Grande LNG
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     Intervenor Rio Grande LNG (Rio Grande) moves for a 30-day

extension of the current deadline for parties to seek rehearing and

rehearing en banc. With the requested 30-day extension of time, a

petition for rehearing and rehearing en banc will be due October 21,

2024. Respondent Federal Energy Regulatory Commission (the

Commission) and Intervenors Rio Bravo and Texas LNG consent to this

motion. Petitioners have said that they will oppose this motion.

  In support of its motion, Rio Grande states:

  1. These consolidated cases seek judicial review of two final agency

     actions, Rio Grande LNG, LLC, 183 FERC ¶61,046 (April 21,

     2023), and Rio Grande LNG, LLC, 185 FERC ¶61,080 (October 27,

     2023).

  2. On August 6, 2024, this Court issued its opinion, which granted

     the petitions for review in part and vacated the authorization

     orders of the Commission. Pursuant to Circuit Rules 35 and 40,

     petitions for rehearing and rehearing en banc are due September

     20, 2024. No prior extensions of this filing date have been sought.

     With the requested 30-day extension of time, a petition for

     rehearing and rehearing en banc will be due October 21, 2024.



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  3. Undersigned counsel has only recently been retained to represent

     Rio Grande on appeal in this matter. Additional time is necessary

     for counsel to become fully familiar with the issues, the decisions

     below, the record and relevant case law (including examining how

     this Court’s decision compares to the law in other circuits), and to

     present the issues for this Court’s review.

  4. The additional time will permit coordination with counsel for Rio

     Bravo, Texas LNG and FERC, and will help avoid the parties from

     filing redundant petitions for rehearing en banc.

  5. New circumstances also support the requested additional time.

     Rio Grande, following extensive consideration, recently requested

     to withdraw its pending proposal related to Carbon Capture and

     Sequestration (CCS) before the Commission. The CCS proposal

     was central to this Court’s analysis on several issues. If accepted,

     the proposed withdrawal will materially affect the issues Rio

     Grande presents in its rehearing petition. Thus, allowing time for

     the Commission to act on Rio Grande’s requested withdrawal will

     enable Rio Grande to focus the issues in its petition and avoid

     discussion of issues that may soon become moot.



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  6. There is also additional good cause for a 30-day extension for

     Intervenor’s petition for rehearing based on other court deadlines

     and responsibilities.

           The undersigned counsel also has a response appellate

             brief due August 23 in Kleiner v. Rite Aid Corp., et al.,

             No. 2886 EDA 2023 (Pa. Sup. Ct.), a case involving a

             lengthy record from an approximately five-week jury trial.

           Undersigned counsel needs to prepare for the oral

             argument proceedings in this Court September 10 in

             Healthy Gulf v. FERC.

           Counsel also has a Brief in Opposition due September 27

             in Mississippi District Council for Assemblies of God v.

             Beachy, No. 23-1030 (S. Ct.); an opening appellate brief

             due October 9 in Anthology v. Tarrant County College

             District (5th Cir. No. 24-10630); and a Petition for Writ of

             Certiorari in Reid v. The Doe Run Resources Corp. (8th

             Cir. No. 23-1625), due October 30.

           In addition, undersigned counsel has business-related

             travel from September 9-12.



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  7. Undersigned counsel for Rio Grande LNG has consulted with

     counsel for the other Intervenors, Petitioners and Respondent.

     Respondent FERC and Intervenors Rio Bravo and Texas LNG

     consent to this motion. Petitioners have stated that they will

     oppose the motion.

                            CONCLUSION

     For the forgoing reasons, this Court should grant the requested

30-day extension of time (to and including October 21, 2024) to petition

for rehearing and rehearing en banc in these consolidated cases.

                                  Respectfully submitted,

                                  /s/Robert M. Loeb
Geoffrey Shaw                     Robert M. Loeb
ORRICK, HERRINGTON &              ORRICK, HERRINGTON &
  SUTCLIFFE LLP                     SUTCLIFFE LLP
1201 355 S. Grand Avenue          2100 Pennsylvania Ave., NW
Los Angeles, CA 90071             Washington, DC 20037
                                  (202) 339-8400

                                  Lisa M. Tonery
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                                    SUTCLIFFE LLP
                                  51 West 52nd Street
                                  New York, NY 10019

                Counsel for Intervenor Rio Grande LNG



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                 CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2) because this motion contains 603 words, excluding the

parts of the motion exempted by Fed. R. App. P. 32(f).

     This motion complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because this motion has been prepared in a proportionally

spaced typeface using Microsoft Word 365 in Century Schoolbook 14-

point font.

                              ORRICK, HERRINGTON & SUTCLIFFE LLP

                              /s/ Robert M. Loeb
                              Robert M. Loeb
                              Counsel for Intervenor Rio Grande LNG
